       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      )
GARDNER DENVER, INC.                                  )       CIVIL ACTION
                                                      )
                               Plaintiff,             )       No. 16-CV-00159-JHS
                                                      )
               v.                                     )
                                                      )
ARCH INSURANCE COMPANY;                               )
CONTINENTAL CASUALTY COMPANY;                         )
AND FEDERAL INSURANCE COMPANY                         )
                                                      )
                               Defendants.            )
                                                      )

             BRIEF IN SUPPORT OF THE MOTION OF LIONS GATE
        ENTERTAINMENT CORP., STARZ ACQUISITION, LLC, AND STARZ
     ENTERTAINMENT, LLC TO INTERVENE AND TO PARTIALLY UNSEAL THE
         TRANSCRIPT OF THE SEPTEMBER 15, 2017 HEARING, AND FOR
      EXPEDITED CONSIDERATION OF THE MOTION TO PARTIALLY UNSEAL

       Lions Gate Entertainment Corp. (“Lions Gate”), as well as Starz Entertainment, LLC

(“Starz E”) and Starz Acquisition, LLC (“Starz A”) (collectively, the “Starz Parties”)

respectfully submit this brief in support of their motion to (1) permit Lions Gate and the Starz

Parties to intervene in this action for the limited purpose of unsealing records; and (2) partially

unseal the Transcript of the September 15, 2017 hearing on plaintiff Gardner Denver, Inc.’s

(“GDI”) Motion to Compel Discovery (the “Hearing Transcript”). There is some time urgency

to resolution of this motion, as Lions Gate and the Starz Parties seek to provide this transcript to

a Judge in California at or before a hearing set for July 26, 2019.

I.     INTRODUCTION

       Lions Gate and the Starz Parties are litigating a directors and officers (“D&O”) insurance

dispute (the “California Case”) that, as this case did, centers on the so-called Bump-Up

Exclusion (“BUE”).      The Hearing Transcript has become relevant in the California Case
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 2 of 10




because, as Arch Insurance Company (“Arch”) and Federal Insurance Company (“Federal”) did

here, the defendant insurers in the California Case are resisting discovery of D&O insurance

industry custom and practice evidence, which this Court ordered Arch and Federal to produce

here. Thus, Lions Gate and the Starz Parties seek a partial unsealing of the Hearing Transcript so

that the California court can have the benefit of this Court’ analysis regarding these overlapping

discovery issues.

       As explained below, Arch and Federal cannot meet their heavy burden to show that a

continued sealing of the entire Hearing Transcript is appropriate. To the contrary, all the briefs

and supporting documents leading up to the Hearing Transcript, including the exhibits, were

publicly filed. That fact is hardly surprising; parties litigate, and courts decide, virtually identical

discovery disputes in public view regularly. Upon information and belief, the only reason that

this Court granted Arch’s request, to which GDI consented, for a limited exception to the strong

presumption of access to court records was that a portion of the hearing might involve discussion

of the contents of certain specific documents that Arch claimed were particularly sensitive.

Neither Arch’s request, nor GDI’s consent, nor the Court’s Order (Doc. No. 61) was premised on

the notion that the entire Hearing Transcript was confidential.1




1
    Undersigned counsel also was counsel for GDI in this case (“Overlapping Counsel”).
Before filing this Motion, Overlapping Counsel requested the consent of Arch and Federal to the
limited unsealing sought here; both insurers refused. (Although Continental Casualty Company
was still a defendant during the referenced hearing, it was not involved in the discovery disputes
addressed at the hearing and it settled shortly afterward.) Overlapping Counsel then advised
Arch and Federal that it planned to advise the Court in the California Case of the fact of this
Court’s decisions in the Hearing Transcript without providing the Hearing Transcript and
without discussing the content of the Hearing Transcript; neither insurer objected. Lions Gate
and the Starz Parties since have referenced this Court’s decisions in a motion to compel in the
California Case; no insurer there has objected. GDI will be filing, under seal, a joinder to this
motion that provides further detail regarding the very limited basis of this Court’s Sealing Order
that Overlapping Counsel could not provide to Lions Gate or the Starz Parties.


                                                  -2-
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 3 of 10




       Although Lions Gate and the Starz Parties agree to the continued sealing of the portions

of the Hearing Transcript that divulge the contents of the documents that Arch claimed were

particularly sensitive, Arch’s confidentiality interest is limited to protecting the specific contents

of those documents. That interest does not extend to the entirety of the hearing. To the contrary,

the strong interest in public access to court records weighs against keeping the entire Hearing

Transcript under seal, and a partial sealing of the hearing transcript will suffice to protect Arch’s

interest. Therefore, the Lions Gate and the Starz Parties respectfully ask this Court to partially

unseal the Hearing Transcript.

II.    FACTUAL BACKGROUND

       A.      The California Case focuses on the BUE, just as this case did.

       Both this case and the California Case arose due to a dispute over coverage for the

policyholders’ settlements of shareholder litigation relating to mergers and acquisitions involving

the policyholders.2 The insurers in both cases asserted a primary defense based on the BUE;3 as

a secondary defense, the insurers in both cases asserted an allocation defense, claiming that even

if the BUE did not bar coverage altogether, some portion of the underlying losses were allocable

to uninsured parties (the “allocation issue”).4


2
    Compare Doc. No. 3, GDI’s 1st Am. Compl., at PDF pp. 1-3 of 32, with Declaration of
Michael Scanlon (“Scanlon Decl.”) filed herewith, Ex. 1, Cal. Compl., ¶¶ 1-2. The complaint in
each case discusses, among other things, (1) a high-ranking insurance company executive’s
public statements about the inapplicability of BUEs to losses from suits characterized as breach
of fiduciary duty claims against the acquiree’s board of directors, compare Doc. No. 3, GDI’s 1st
Am. Compl., ¶ 54, with Scanlon Decl., Ex. 1, Cal. Compl., ¶ 48; and (2) the reasonable
expectations of policyholders regarding coverage for M&A claims, compare Doc. No. 3, GDI’s
1st Am. Compl., PDF pp. 1-3 of 38, with Scanlon Decl., Ex. 1, Cal. Compl., ¶ 48.
3
    Compare Doc. No. 36, Arch’s Answer, at PDF pp. 1-3 of 38 & ¶ 37, and Doc. No. 38
Federal’s Answer, ¶ 37, with Scanlon Decl., Ex. 2, Alterra America Insurance Company’s
(“Alterra”) Answer, ¶ 6.
4
   Compare Doc. No. 36, Arch’s Answer, ¶ 38, and Doc. No. 38 Federal’s Answer, ¶ 38 & 7th
Affirmative Def., with Scanlon Decl., Ex. 3, Alterra’s Reqs. for Production, Req. Nos. 24 & 54.


                                                  -3-
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 4 of 10




       B.      The California Case already has led to the same discovery disputes that the
               Court resolved in the Hearing Transcript.

       Because both this case and the California Case feature the BUE and the allocation issue,

the policyholder plaintiffs in both cases sought discovery of drafting history information and

reinsurance communications. Specifically, the policyholders in each case sought drafting history

discovery regarding not only the BUEs contained in the policies in each case but also regarding

other BUEs developed or used by the insurer defendants; such information is pertinent to D&O

industry custom and practice, which in turn is relevant to the potential latent ambiguities and the

reasonable expectations of the insured.5 Similarly, the policyholders in both cases argued that

discovery of reinsurance communications was discoverable because (1) the insurers put such

information at issue by asserting allocation defenses;6 (2) such communications could shed light

onto the insurers’ interpretations of policy language;7 and (3) such communications could be

relevant to the policyholders’ respective claims for extra-contractual damages.8

       C.      Lions Gate and the Starz Parties wish to bring this Court’s reasoning to the
               attention of the Court in the California Case, which has set a July 26, 2019
               hearing on a motion to compel raising similar issues.

       On June 18, 2019, Starz A filed a motion to compel in the California Case seeking

discovery of drafting history information and reinsurance communications from one of the

insurers there.9 The hearing on that motion is set for July 26, 2019.10 Lions Gate and the Starz


5
    Compare Doc. No. 56-1, GDI’s Mem. in Supp. of Mot. to Compel, at pp. 16-17 of 29 and 20-
21 of 29 with Scanlon Decl., Ex. 4, Starz A’s Mot. to Compel, Mem. in Supp. of Mot., at pp. 8-
10.
6
    Compare Doc. No. 56-1, GDI’s Mem. in Supp. of Mot., at pp. 12 and 22 of 29 with Scanlon
Decl., Ex. 4, Starz A’s Mot. to Compel, Mem. in Supp. of Mot., at p. 11.
7
    Compare Doc. No. 56-1, GDI’s Mem. in Supp. of Mot., at pp. 18-21 of 29, with Scanlon
Decl., Ex. 4, Starz A’s Mot. to Compel, Mem. in Supp. of Mot., at p. 12.
8
    Compare Doc. No. 56-1, GDI’s Mot. to Compel, Mem. in Supp. of Mot., at pp. 19-20 of 29,
with Scanlon Decl., Ex. 4, Starz A’s Mot. to Compel, Mem. in Supp. of Mot., at pp. 12-13.
9
    Scanlon Decl., Ex. 4, Starz A’s Mot. to Compel, at pp. 8-13.
10
    Scanlon Decl., ¶ 5.


                                                -4-
        Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 5 of 10




Parties wish to bring the Hearing Transcript to the California court’s attention, both for the

purposes of the July 26th hearing and similar additional hearings that are anticipated. Further, to

allow the Hearing Transcript to be provided to the Judge in that case at or before the July 26th

hearing, Lions Gate and the Starz Parties respectfully request that the relevant portions of the

Hearing Transcript be unsealed before that date.

        D.      Arch and its fellow insurer refuse to stipulate to a partial unsealing of the
                Hearing Transcript.

        On May 30 and 31, 2019, undersigned counsel for Lions Gate and the Starz Parties—

who, as noted, also represented GDI in this case—contacted Arch’s counsel and Federal’s

counsel requesting that Arch and Federal stipulate to a partial unsealing of the Hearing

Transcript. Undersigned counsel provided them with a redacted copy of the Hearing Transcript

showing the portions of the transcript that undersigned counsel proposed to unseal and the

portions that it consented to keeping sealed. A copy of that redacted transcript will be provided

to the Court, under seal, with GDI’s upcoming brief supporting this Motion.11

        Although neither Arch nor Federal asserted that the Court’s rulings were confidential,

both declined to stipulate to a partial unsealing—with Arch transmitting its refusal on May 31,

2019,12 and Federal doing so on June 6, 2019.13 Neither insurer even made a counter-proposal

by proposing additional redactions; instead, both insurers have insisted that the entire Hearing

Transcript remain under seal. As discussed below, Arch’s and Federal’s position is indefensible

under well-settled law.




11
     As noted, counsel has not provided the Hearing Transcript to Lions Gate or the Starz Parties.
12
     Scanlon Decl., ¶ 8.
13
     Scanlon Decl., ¶ 8.


                                                -5-
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 6 of 10




III.   ARGUMENT

       A.      The law liberally allows parties such as Lions Gate and the Starz Parties to
               intervene in situations such as this one.

       Rule 24 of the Federal Rules of Civil Procedure permits anyone to intervene who, inter

alia, “has a claim or defense that shares with the main action a common question of law or fact.”

Fed. R. Civ. P. 24(b). The Third Circuit has “routinely found, as have other courts, that third

parties have standing to challenge protective orders and confidentiality orders in an effort to

obtain access to information or judicial proceedings.” Pansy v. Borough of Stroudsburg, 23

F.3d 772, 777 (3d Cir. 1994) (“Pansy”).14

       Starz A wishes to provide the Hearing Transcript to the court in the California Case and,

thus, has an interest in whether the document should remain under seal.15            Furthermore,

intervention is proper here under Pansy, because Lions Gate and the Starz Parties want to gain

access to the Hearing Transcript—a document to which they and the public as a whole have

common law and constitutional rights of access.        Thus, Lions Gate and the Starz Parties

respectfully request that the Court allow them to intervene in this action and to move to partially

unseal to Hearing Transcript.

       B.      Arch and Federal cannot sustain their burden to overcome the strong
               presumption in favor of partially unsealing the Hearing Transcript.

               1.     The Hearing Transcript is a judicial record, and the public’s right of
                      access to such records is beyond dispute.

       The public has both a First Amendment and common law right of access to judicial

proceedings and records. Press-Enterprise Co. v. Superior Court of California for Riverside


14
    Jackson v. Delaware River & Bay Auth., 224 F. Supp. 2d 834, 837 (D.N.J. 2002); see also
6 Moore’s Federal Practice §24.11 at p. 24-78 (“Courts generally have permitted intervention
for the limited purpose of seeking access to material that has been sealed”) and cases
collected at nn. 41, 42, and 44-47.
15
    Scanlon Decl., Ex. 4, Starz A’s Mot. to Compel, Mem. in Supp. of Mot., at p. 2 & n.3.


                                                -6-
        Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 7 of 10




Cty., 478 U.S. 1, 7-9 (1986); Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 578-80

(1980).16 Because the Hearing Transcript is undoubtedly a court record, Lions Gate and the

Starz Parties have a right to access it. The Court should partially unseal that document, unless

Arch and its fellow insurer defendants can justify a continued total seal.

                2.     There is no basis for a continued complete sealing of the Hearing
                       Transcript.

        Any order sealing court filings in contravention of the common law presumption of

access to court records must be based on a showing of good cause by the party seeking to seal

the particular pleading: “Good cause is established on a showing that disclosure will work a

clearly defined and serious injury to the party seeking closure. The injury must be shown with

specificity.   Broad allegations of harm unsubstantiated by specific examples or articulated

reasoning do not support a good cause showing.” Pansy, 23 F.3d at 786. Furthermore, “in

assessing the requests for sealing under that [good cause] test [as required] under a First

Amendment analysis, the court should apply a rigorous level of review to ensure that closure

is in fact ‘essential’ to prevent a serious injury to the party seeking sealing, and that the

requested closure is narrowly tailored to include only the information that may harm that

party.” W. Penn Allegheny Health Sys., Inc. v. UPMC, No. 2:12-CV-0692-JFC, 2013 WL

12141532, at *7 (W.D. Pa. Sept. 16, 2013) (emphasis added) (citing Publicker Industries v.

Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)).

        Arch and Federal cannot establish good cause for sealing the Hearing Transcript in

its entirety because a partial unsealing will not cause the insurers “a clearly defined and


16
    See also, e.g., In re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001) (“It is well-settled that
there exists, in both criminal and civil cases, a common law public right of access to judicial
proceedings and records.”); United States v. Antar, 38 F.3d 1348, 1361 (3d Cir. 1994) (holding
that this common law right of access was the foundation of the First Amendment right to access,
and expressly applying it to transcripts).


                                                -7-
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 8 of 10




serious injury.” As noted earlier, upon information and belief, the only basis for the sealing

of the Hearing Transcript was to protect the content of certain specific documents discussed

at the hearing; Arch never even argued that the discussions of the broader discovery disputes

at issue during the hearing were confidential. Nor could it make such an argument; as

shown in GDI’s motion to compel leading up to the hearing, parties litigate, and courts

decide, such disputes in the public view routinely.17 There is no continuing need to seal the

Hearing Transcript except for the small section where the contents of these specific

documents are discussed. These facts give lie to any claim that good cause—in the form of

clearly defined and serious injury—for continued total sealing exists.

       Moreover, even if Arch and Federal could establish a cognizable injury stemming from

an unsealing, a partial unsealing is warranted under the seven factors set forth in Pansy and used

by courts in the Third Circuit when determining a motion to seal or unseal18 under the common

law:

       1) whether disclosure will violate any privacy interests;

       2) whether the information is being sought for a legitimate purpose or for an
       improper purpose;

       3) whether disclosure of the information will cause a party embarrassment;

       4) whether confidentiality is being sought over information important to public
       health and safety;

       5) whether the sharing of information among litigants will promote fairness and
       efficiency;

       6) whether a party benefitting from the order of confidentiality is a public entity
       or official; and

       7) whether the case involves issues important to the public.

17
    Doc. No. 56-1, GDI’s Mem. in Supp. of Mot., passim (citing cases).
18
   Pansy itself was a motion to vacate a confidentiality order and unseal a settlement agreement.
Id. at 775, 780 and 783-85.


                                               -8-
       Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 9 of 10




Glenmeade Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995); United States v. White,

2004 WL 2399731 at *5 (E.D. Pa. 2004).

       The factors going to party embarrassment, public health and safety, and public

entities/officials are not implicated here, and all the other factors tilt heavily in favor of a

partial unsealing. Partially unsealing the Hearing Transcript will not harm Arch’s privacy

interest, because Lions Gate and the Starz Parties seek to unseal only the portions of the

Hearing Transcript that were never implicated in Arch’s sealing request. Lions Gate and the

Starz Parties also seek a partial unsealing for a legitimate purpose; they seek to cite and

provide a copy of the Hearing Transcript to the California Court. Indeed, this is not just a

legitimate purpose, but a core use of judicial records. Sharing the Hearing Transcript with

the California court also will satisfy the fairness and efficiency factor and the public interest

factor; specifically, access to the Hearing Transcript will promote the development and

consistent application of the law and the consistent and proper interpretation and

enforcement of insurance policies, including the right to obtain discovery relevant to

disputes under those insurance policies.

       Indeed, the insurers in this case had to turn over much of the disputed discovery

because the Court believed the information was relevant to insurance industry custom and

practice; it would be incongruous for the insurers in the California Case to escape producing

their own documents and information regarding the same industry-wide custom and practice

because the California court was deprived of the opportunity to analyze this Court’s decision

and reasoning.    Accordingly, any argument that the Hearing Transcript should remain

completely sealed should be rejected.




                                               -9-
      Case 2:16-cv-00159-JHS Document 121-1 Filed 07/08/19 Page 10 of 10




IV.    CONCLUSION

       For all the above reasons, Lions Gate and the Starz Parties respectfully request

permission to intervene in this action and request that the Court partially unseal the Hearing

Transcript.


                                           Respectfully submitted,



Dated: July 8, 2019                                /s/ RGPlacey
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